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                           UNITED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES

Date: June 28, 2018             Time: 31 minutes           Judge: WILLIAM H. ORRICK
                                9:45 a.m. to 10:16 a.m.
Case No.: 15-cv-05666-WHO       Case Name: Woods v. San Francisco



Attorneys for Plaintiff:  Patrick M. Buelna and Adante Pointer
Attorneys for Defendants: Sean F. Connolly and Kelly M. Collins
                          Tara Sealy, District Attorney's Office, present

Deputy Clerk: Jean Davis                              Court Reporter: Lydia Zinn

                                       PROCEEDINGS

Counsel appear for discovery hearing. The Court provides tentative opinions on the pending
discovery disputes (Dkt. Nos. 84, 86). Argument of counsel heard. The Court orders as follows:

   1. With respect to the SFDA Investigative File and deposition of the District Attorney:
         a. The factual information in the SFDA Investigative File shall be produced (witness
             names, statements, interviews, video, photographs, diagrams, notes by
             investigators) by Friday, June 30 to the extent the SFDA’s office is prepared to do
             so.
         b. The rest of the file shall be produced by July 6, 2018. To the extent the SFDA
             asserts a privilege concerning any document in the file, it shall provide a privilege
             log with sufficient information to give the parties an understanding of what is
             being withheld and why.
         c. The request to take the deposition of DA Gascon is DENIED.

   2. With respect to the requested deposition of ex-Chief of Police Suhr:

          a. It is unclear to the Court what the Monell claim is based on and whether plaintiff
             has done the necessary discovery to support a deposition of the former chief of
             police. After argument, the Court suggests that plaintiff meet and confer with
             defendants on whether a further 30(b)(6) deposition is needed to tee up whether
             Monell applies in this case and, if it does, how material the deposition of Suhr is.
          b. At the close of discovery, plaintiff may submit an additional letter brief in support
             of the request for this deposition, of five pages or less, exclusive of exhibits.
             Defendants may respond with a letter of similar length within a week thereafter.

IT IS SO ORDERED.
